IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

 

 

EASTERN DIVISION
WILLIAM ELLIS, CASE NO. 1:22-cv-00815
Plaintiff

JUDGE SOLOMON OLIVER, JR.

-VSs-

DET. JEFFREY YASENCHACK, et al. STIPULATED PROTECTIVE ORDER
(L.R. APP. L)

Defendants

 

 

 

 

The parties have agreed to the terms of this Protective Order. The Court has determined
that the terms set forth herein are appropriate to protect the respective interests of the parties, the
public, and the Court. Accordingly, it is ORDERED:

1. Scope. All documents produced in the course of discovery, including initial disclosures, all
responses to discovery requests, all deposition testimony and exhibits, other materials which may be
subject to restrictions on disclosure for good cause and information derived directly therefrom
(hereinafter collectively “documents”), shall be subject to this Order concerning confidential
information as set forth below. As there is a presumption in favor of open and public judicial
proceedings in federal courts, this Order shall be strictly construed in favor of public disclosure and
open proceedings wherever possible. The Order is also subject to the Local Rules of this District
and the Federal Rules of Civil Procedure on matters of procedure and calculation of time periods.

2. Form and Timing of Designation. A party may designate documents as confidential and
restricted in disclosure under this Order by placing or affixing the words “CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER” on the document in a manner that will not interfere with
the legibility of the document and that will permit complete removal of the CONFIDENTIAL —

SUBJECT TO PROTECTIVE ORDER designation. Documents shall be designated
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER prior to or at the time of the
production or disclosure of the documents. When electronically stored information is produced
which cannot itself be marked with the CONFIDENTIAL — SUBJECT TO PROTECTIVE
ORDER designation, the physical media on which such electronically stored information is
produced shall be marked with the applicable designation. The party receiving such electronically
stored information shall then be responsible for labeling any copies that it creates thereof, whether
electronic or paper, with the applicable designation. By written stipulation the parties may agree
temporarily to designate original documents that are produced for inspection as CONFIDENTIAL,
even though the original documents being produced have not themselves been so labeled. All
information learned in the course of such an inspection shall be protected in accordance with the
stipulated designation. The copies of documents that are selected for copying during such an
inspection shall be marked CONFIDENTIAL, as required under this Order and thereafter the
copies shall be subject to protection under this Order in accordance with their designation. The
designation “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” does not mean that
the document has any status or protection by statute or otherwise except to the extent and for the
purposes of this Order.

3. Documents Which May be Designated CONFIDENTIAL — SUBJECT TO
PROTECTIVE ORDER. Any party may designate documents as CONFIDENTIAL — SUBJECT
TO PROTECTIVE ORDER upon making a good faith determination that the documents contain
information protected from disclosure by statute or that should be protected from disclosure such as
confidential personal information, medical or psychiatric information, trade secrets, personnel

records, ot such other sensitive commercial information that is not publicly available. Public records
and other information or documents that are publicly available may not be designated as
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER.

4. Depositions. Deposition testimony shall be deemed CONFIDENTIAL — SUBJECT TO
PROTECTIVE ORDER only if designated as such. Such designation shall be specific as to the
portions of the transcript or any exhibit to be designated as CONFIDENTIAL — SUBJECT TO
PROTECTIVE ORDER. Thereafter, the deposition transcripts and any of those portions so
designated shall be protected as CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER,
pending objection, under the terms of this Order.

5. Protection of Confidential Material.

(a) General Protections. Documents designated as CONFIDENTIAL — SUBJECT TO
PROTECTIVE ORDER under this Order shall not be used or disclosed by the parties, counsel for
the parties or any other persons identified in {| 5(b) for any purpose whatsoever other than to
prepare for and to conduct discovery and trial in this action, including any appeal thereof.

(b) Limited Third-Party Disclosures. The parties and counsel for the parties shall not disclose or
permit the disclosure of any CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER
documents to any third person or entity except as set forth in subparagraphs (1) - (5). Subject to
these requirements, the following categories of persons may be allowed to review documents that
have been designated CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER:

(1) Counsel. Counsel for the parties and employees and agents of counsel who have
responsibility for the preparation and trial of this action;
(2) Parties. Parties and employees of a party to this Order;

(3) Court Reporters and Recorders. Court reporters and recorders engaged for depositions;
(4) Consultants, Investigators, and Experts. Consultants, investigators, or experts
(hereinafter referred to collectively as “experts”) employed by the parties or counsel for
the parties to assist in the preparation and trial of this action or proceedings, but only
after such persons have completed the certification contained in Attachment A,
Acknowledgement of Understanding and Agreement to Be Bound; and

(5) Others by Consent. Other persons only by written consent of the producing party or
upon order of the Court and on such conditions as may be agreed or ordered. All such
persons shall execute the certification contained in Attachment A, the Acknowledgement
of Understanding and Agreement to Be Bound.

(c) Control of Documents. Counsel for the Parties shall take reasonable and appropriate
measutes to prevent unauthorized disclosure of documents designated as CONFIDENTIAL
pursuant to the terms of this Order. Counsel shall maintain the originals of the forms signed by
persons acknowledging their obligations under this Order for a period of 1 year after dismissal of
the action, the entry of final judgment, and/or the conclusion of any appeals arising therefrom.

(d) Copies. Prior to production to another party, all copies, electronic images, duplicates,
extracts, summaries or descriptions (hereinafter referred to collectively as “copies”) of documents
designated as CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER under this Order, or
any individual portion of such a document, shall be affixed with the designation
“CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” if the word does not already
appear on the copy. All such copies shall thereafter be entitled to the protection of this Order. The
term “copies” shall not include indices, electronic databases or lists of documents provided these

indices, electronic databases or lists do not contain substantial portions or images of the text of
confidential documents or otherwise disclose the substance of the confidential information
contained in those documents.

(e) Inadvertent Production. Inadvertent production of any document or information
without a designation of “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER” shall be
governed by Fed. R. Evid. 502.

6. Filing of CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER Documents
Under Seal. Absent a statute or an order of this Court, documents may not be filed under seal. See
L.R. 5.2; Electronic Filing Policies and Procedures Manual Section 16. Neither this Protective Order
nor any other sealing order constitutes blanket authority to file entire documents under seal. Only
confidential portions of relevant documents are subject to sealing. To the extent that a brief,
memorandum or pleading references any document designated as CONFIDENTIAL — SUBJECT
TO PROTECTIVE ORDER, then the brief, memorandum, or pleading shall refer the Court to the
specific exhibit filed under seal without disclosing the contents of any confidential information. If,
however, the confidential information must be intertwined within the text of the document, a party
may timely move this Court for leave to file both a redacted version for the public docket and an
unredacted version for sealing.

Absent a court-granted exception based upon extraordinary circumstances, any and all filings
made under seal shall be submitted electronically and shall be linked to this Protective Order or
other relevant authorizing order. If both redacted and unredacted versions are being submitted for
filing, each version shall be clearly named so there is no confusion as to why there are two entries on

the docket for the same filing.
If this Court has granted an exception to electronic filing, a sealed filing shall be placed in a
sealed envelope marked “CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER.” The
sealed envelope shall display the case name and number, a designation as to what the document is,
the name of the party on whose behalf it is submitted, and the name of the attorney who has filed
the sealed document. A copy of this Protective Order, or other relevant authorizing order, shall be
included in the sealed envelope.

Any and all documents that may have been subject to sealing during discovery or motion
practice will not enjoy a protected or confidential designation if the matter comes on for hearing,
argument, or trial in the courtroom. The hearing, argument, or trial will be public in all respects.’

7. Challenges by a Party to Designation as Confidential. Any CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER designation is subject to challenge by any party or non-
party with standing to object (hereafter “party”). Before filing any motions or objections to a
confidentiality designation with this Court, the objecting party shall have an obligation to meet and
confer in a good faith effort to resolve the objection by agreement. If agreement is reached
confirming or waiving the CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER
designation as to any documents subject to the objection, the designating party shall serve on all
parties a notice specifying the documents and the nature of the agreement.

8. Action by the Court. Applications to this Court for an order relating to any
documents designated CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER shall be by

motion under Local Rule 7.1 and any other procedures set forth in the presiding judge’s standing

 

! NOTE: If the Court or a particular judicial officer has developed an alternative method for the
electronic filing of documents under seal, then the parties shall follow this alternative method
and shall not file any documents or pleadings manually with the Clerk of Court.

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orders or other relevant orders. Nothing in this Order or any action or agreement of a party under
this Order limits this Court’s power to make any orders that may be appropriate with respect to the
use and disclosure of any documents produced or used in discovery or at trial.

9. Use of Confidential Documents or Information at Trial. All trials are open to
the public. Absent order of this Court, there will be no restrictions on the use of any document that
may be introduced by any party during the trial. If a party intends to present at trial
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER documents or information derived
therefrom, such party shall provide advance notice to the other party at least five (5) days before the
commencement of trial by identifying documents or information at issue as specifically as possible
(i.e., by Bates number, page range, deposition transcript lines, etc.) without divulging the actual
CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER documents or information. This
Court may thereafter make such orders as are necessary to govern the use of such documents or
information at trial.

10. Obligations on Conclusion of Litigation.

(a) Order Remains in Effect. Unless otherwise agreed or ordered, this Order shall remain in
force after dismissal or entry of final judgment not subject to further appeal.

(b) Return of CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER Documents.
Within thirty (30) days after dismissal or entry of final judgment not subject to further appeal, all
documents treated as CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER under this
Order, including copies as defined in {| 5(d) of this Order, shall be returned to the producing party
unless: (1) the document has been offered into evidence or filed without restriction as to disclosure;

(2) the parties agree to destruction in lieu of return; or (3) as to documents bearing the notations,
summations, or mental impressions of the receiving party, that party elects to destroy the documents
and certifies to the producing party that it has done so. Notwithstanding the above requirements to
return or destroy documents, counsel may retain attorney work product, including an index which
refers or relates to information designated as CONFIDENTIAL — SUBJECT TO PROTECTIVE
ORDER, so long as that work product does not duplicate verbatim substantial portions of the text
ot images of confidential documents. This work product shall continue to be CONFIDENTIAL —
SUBJECT TO PROTECTIVE ORDER under this Order. An attorney may use his or her work
product in a subsequent litigation provided that its use does not disclose or use CONFIDENTIAL
— SUBJECT TO PROTECTIVE ORDER documents.
(c) Return of Documents Filed under Seal. After dismissal or entry of final judgment not
subject to further appeal, the Clerk may elect to return to counsel for the Parties or, after notice,
destroy documents filed or offered at trial under seal or otherwise restrict by this Court as to
disclosure.
11, Order Subject to Modification. This Order shall be subject to modification by this

Court upon its own motion or upon motion of a party or any other person with standing

concerning the subject matter. Motions to modify this Order shall be served and filed under Local

Rule 7.1 and the presiding judge’s standing orders or other relevant orders.

12. No Prior Judicial Determination. This Order is entered based on the
representations and agreements of the Parties and for the purpose of facilitating discovery. Nothing
herein shall be construed or presented as a judicial determination that any documents or

information designated as CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER by
counsel or the Parties is subject to protection under Rule 26© of the Federal Rules of Civil

Procedure or otherwise until such time as this Court may rule on a specific document or issue.
13. Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel and their law firms, the Parties, and other persons made subject to this Order by

its terms.

So Ordered.

 

JUDGE SOLOMON OLIVER, JR.

Dated:

 
 

PROTECTIVE ORDER
ATTACHMENT A

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

 

WILLIAM ELLIS, CASE NO. 1:22-cv-00815

Plaintiff
JUDGE SOLOMON OLIVER, Jr.

-VS-

DET. JEFFREY YASENCHACK, et al.

 

 

 

Defendants

 

ACKNOWLEDGEMENT
AND
AGREEMENT TO BE BOUND

The undersigned hereby acknowledges that he/she has read the Protective Order dated __
in the above-captioned action and attached hereto, understands the terms thereof,
and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the United
States District Court for the Northern District of Ohio in matters relating to the Protective Order
and understands that the terms of the Protective Order obligate him/her to use documents
designated as CONFIDENTIAL — SUBJECT TO PROTECTIVE ORDER in accordance with the
Order solely for the purposes of the above-captioned action, and not to disclose any such

documents or information derived therefrom to any other person, firm or concern.
The undersigned acknowledges that violation of the Protective Order may result in penalties

for contempt of court.

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Name:

 

Job Title:

 

Employer:

 

Business Address:

 

 

 

Date:

Signature:

 

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